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                          BEFORE THE UNITED STATES JUDICIAL
                          PANEL ON MULTIDISTRICT LITIGATION


IN RE: ORAL PHENYLEPHRINE MARKETING :
AND SALES PRACTICES LITIGATION      :                           MDL No. 3089

 PLAINTIFFS EMILY COHEN, VIVA COHEN, AND JOEY COHEN’S INTERESTED
PARTY RESPONSE TO THE MOTION CENTRALIZE THE ORAL PHENYLEPHRINE
                CASES IN THE DISTRICT OF NEW JERSEY
          Plaintiffs Emily Cohen, Viva Cohen, and Joey Cohen (the “Cohen Plaintiffs”)

respectfully submit their interested party response to the MDL centralization motion filed by

plaintiffs Erin Barton, Sam Gallo, Kimberly Buscaglia, and Francis Catanese on September 18,

2023 (the “Motion”). (Doc. No.1)1

                                      PRELIMINARY STATEMENT

          At this point there may already be scores of lawsuits in as many different districts against

companies that manufactured and sold oral phenylephrine products for nasal decongestion. More

cases will undoubtedly be filed in the coming weeks. The pending cases allege the same thing—

that the products did not work, and that the companies knew or should have known they did not

work but they promoted and sold the products as effective anyway. In similar circumstances the

Panel has created a single multidistrict litigation composed of all the federal cases against

multiple defendants. But the Panel has also declined to create any MDLs at all in favor of similar

actions proceeding against different defendants separately in multiple districts.2 Here, the

principal issue in all the cases will be whether the Defendants knew or should have known that

oral phenylephrine products were ineffective, and if so, when they knew or should have known.


1
   The Cohen Plaintiffs filed related actions captioned Viva Cohen and Joey Cohen v. Walgreens
Boots Alliance, Inc., 1:23-cv-14155 (N.D. Ill.) (The Honorable Sara L. Ellis), and Emily Cohen
v. CVS Pharmacy, Inc., 1:23-cv-00403 (D.R.I.) (The Honorable William E. Smith).
2
  E.g., In re Baby Food Marketing, Sales Practices and Product Liability Litig., MDL No. 2997,
544 F. Supp. 3d 1375 (J.P.M.L. 2021).


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Further, it is likely all the defendants will all proffer the usual defenses. The goal of efficiency

would be best served if one district court and one circuit court were to decide the critical factual

and legal issues present in all the cases.

          One oral phenylephrine products MDL is warranted because each of the §1407

requirements are satisfied and fundamental issues necessary to resolve the parties’ claims and

defenses can fairly and efficiently be decided by one court, whether it is the District of New

Jersey, the Northern District of Illinois, the District of Rhode Island, or another district. If the

Panel decides against one MDL proceeding, the Cohen Plaintiffs respectfully suggest that cases

against CVS be centralized under §1407 in the District of Rhode Island before the Honorable

William E. Smith, and that the cases against Walgreens be centralized in the Northern District of

Illinois before the Honorable Sara L. Ellis. The Cohen Plaintiffs believe that MDL centralization

is preferable to non-MDL approaches such as §1404 transfer.

                         ARGUMENT IN SUPPORT OF CENTRALIZATION

          The requirements for transfer under 28 U.S.C. §1407 are met here because: 1) there are

civil actions pending in different districts that have one or more common questions of fact; 2)

centralization will be for the convenience of the parties and witnesses; and 3) centralization will

promote the just and efficient conduct of the actions.

          The most efficient way to handle the oral phenylephrine products cases—for the

defendants, the plaintiffs, and the judicial system—is to create one MDL managed by a single

judge. This approach was employed and worked very well in the Automotive Parts Antitrust

Litigation, MDL No. 2311, where the Panel turned what could have been scores of separate cases

brought by purchasers at different levels of the distribution chain against different parts




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manufacturers in districts scattered across the country into a single MDL capably managed by

Judge Battani.

          After establishing an MDL for one vehicle part, In re Automotive Wire Harness Sys.

Antitrust Litig., MDL No. 2311, 2012 WL 432596 (J.P.M.L. 2012), the Panel was asked to

create new MDL dockets for cases asserting antitrust and other claims against producers of

additional parts. The Panel decided that the cases involving these products should be transferred

to the Eastern District of Michigan and Judge Battani but declined the request to create three new

MDLs. In re Automotive Parts Antitrust Litig., 867 F. Supp. 2d 1349, 1350-51 (J.P.M.L. 2012).

The Panel’s reluctance to create multiple MDL dockets was not overcome by arguments “that the

cases in each MDL involve a separate alleged conspiracy that will involve facts, time frames,

parties and witnesses specific to that alleged conspiracy.” Id. The Panel concluded that

“including all actions in MDL No. 2311 will lead to the most efficient handling of these cases.”

Id.3

          Part of what drove the Panel’s decision was that the government was investigating

anticompetitive conduct in one industry, even though it was composed of scores of suppliers

producing an equal number of parts. The Panel’s decision to create one MDL was designed to

and in fact achieved excellent results—a just and efficient resolution of multiple cases filed in

different districts that revolved around widespread collusion in the automotive parts industry.

The rationale employed by the Panel in automotive parts is equally applicable here.

          The practices of multiple defendants producing a similar product were also under scrutiny

in In re Factor VIII or IX Concentrate Blood Prods. Prod. Liability Litig., MDL No. 986, 853 F.



3
  The Panel noted that the transferee court had tools at its disposal to most efficiently manage
cases involving different parts within the framework of MDL No. 2311. In re Automotive Parts
Antitrust Litig., 867 F. Supp. 2d at 1351.
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Supp. 454 (J.P.M.L. 1993). Hemophiliacs infected with HIV sued the four major factor

concentrate producers in several districts. The Panel centralized the factor concentrate cases in

the Northern District of Illinois before Judge Grady. The Panel concluded that centralization of

all the factor concentrate cases in one district was necessary to eliminate duplicative discovery,

prevent inconsistent pretrial rulings, and to conserve the resources of the parties, their counsel,

and the judiciary. Id.

          Litigation against opiate manufacturers and distributors was centralized by the Panel in

the Northern District of Ohio. In re National Prescription Opiate Litig., MDL No. 2804, 290 F.

Supp. 3d 1375 (J.P.M.L. 2017). The Panel decided that a single MDL was warranted even

though:

                [t]he parties opposing transfer stress the uniqueness of the claims they
                bring (or the claims that are brought against them), and they argue that
                distributors will lead to inefficiencies that could slow the progress of
                all cases. While we appreciate these arguments, we are not persuaded
                by them. All of the actions can be expected to implicate common fact
                questions as to the allegedly improper marketing and widespread
                diversion of prescription opiates into states, counties and cities across
                the nation, and discovery likely will be voluminous. Although
                individualized factual issues may arise in each action, such issues do
                not—especially at this early stage of litigation—negate the efficiencies
                to be gained by centralization.
Id. at 1378-79.

          The Panel has established other MDLs in circumstances where different defendants

produced an allegedly defective product. For example, the Panel decided that cases against

Chinese drywall manufacturers whose products allegedly released sulfur gases, which corroded

metal appliances and components in homes and caused headaches, and respiratory and skin

ailments, should be combined in one pretrial proceeding. In re Chinese-Manufactured Drywall

Products Liability Litig., MDL No. 2047, 626 F. Supp. 2d 1346 (J.P.M.L. 2009).



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          Another example is In re Takata Airbag Products Liability Litig., MDL No. 2599, 84 F.

3d 1371 (J.P.M.L. 2015). Takata made different airbags for major automobile manufacturers.

Plaintiffs sued Takata and the vehicle manufacturers for selling faulty airbags and vehicles with

faulty airbags in Districts across the country. Ordering centralization in the Southern District of

Florida, the Panel explained that:

               [t]hese actions—all of which are putative nationwide class actions—share
               factual questions arising from allegations that certain Takata-manufactured
               airbags are defective in that they can violently explode and eject metal
               debris, resulting in injury or even death. Plaintiffs allege that Takata and the
               various motor vehicle manufacturer defendants became aware of the defect
               years ago, but concealed their knowledge from safety regulators and the
               public. Centralization will eliminate duplicative discovery, prevent
               inconsistent pretrial rulings on class certification and other issues, and
               conserve the resources of the parties, their counsel, and the judiciary.
Id. at 1372.

          An even more recent example of a unitary MDL combining claims of different groups of

plaintiffs for economic loss (and personal injury and medical monitoring, which as far as we

know are not being asserted against the decongestant defendants) against numerous drugmakers

and sellers of ranitidine containing pharmaceuticals is In re: Zantac (Ranitidine) Products Liab.

Litig., MDL No. 2924, 437 F. Supp. 3d 1368 (J.P.M.L. 2020).

          As with the cases cited above, the conduct of the major players in an industry with

respect to a particular aspect of product is being examined. A single judge making consistent

rulings with appeals to one circuit is preferable to multiple cases in front of different judges in

various districts and circuits, which would be less just and efficient.




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               CENTRALIZATION IN THE DISTRICT OF NEW JERSEY WOULD BE
                                 APPROPRIATE
          The Motion requests centralization of the oral phenylephrine products cases in the

District of New Jersey. All the plaintiffs who have been heard from support centralization but

suggest different transferee districts.4

          The District of New Jersey would be an appropriate venue for an oral phenylephrine

products MDL. So would the Northern District of Illinois, which is centrally located, or the

District of Rhode Island, which does not currently serve as an MDL venue.

          If the Panel decides that one MDL docket for all the oral phenylephrine products cases is

unwarranted, then the Cohen Plaintiffs respectfully request that the cases against Walgreens be

centralized under §1407 in the Northern District of Illinois before Judge Ellis5 and that the cases

against CVS be centralized in the District of Rhode Island before Judge Smith.6




4
  Attached as Exhibit A is a chart that summarizes the various districts certain plaintiffs have
suggested that the Panel select as the transferee district for all of the oral phenylephrine products
actions, and the reasons provided by the proponent. The District of New Jersey currently leads in
the balloting.
5
  Walgreens is headquartered in the Northern District of Illinois. Judge Ellis has served on the
federal bench for ten years and has been assigned MDL No. 3059, In re: Beyond Meat, Inc.,
Protein Content Marketing and Sales Practices Litig. (J.P.M.L. 2023).
6
  CVS is headquartered in the District of Rhode Island. Judge Smith has served on the federal
bench for twenty-one years, including as Chief Judge. The Panel has entrusted an MDL to Judge
Williams. In re: Loestrin 24 FE Antitrust Litig., MDL No. 2472 (J.P.M.L. 2014). The District of
Rhode Island currently has no active MDL.


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                                           CONCLUSION
          Centralization of the oral phenylephrine products cases in one district will eliminate

duplicative discovery, prevent inconsistent pretrial rulings on class certification and other issues,

and conserve the resources of the parties, their counsel, and the judiciary. Therefore, the Cohen

Plaintiffs respectfully request that an oral phenylephrine products MDL be established either in

the District of New Jersey, the Northern District of Illinois, the District of Rhode Island, or in

whichever district the Panel sees fit. If the Panel is not so inclined, the Cohen Plaintiffs

respectfully request that the Panel create a Walgreens oral phenylephrine products MDL in the

Northern District of Illinois and a CVS oral phenylephrine products MDL in the District of

Rhode Island.

Dated: October 25, 2023                         Respectfully submitted,


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